EXHIBIT B
NORTH CAROLINA                                         IN THE GENERAL COURT OF JUSTICE
                                                            DISTRICT COURT DIVISION
WAKE COUNTY                                                        20-CV-4020

WILLIAM TEOH,

                Plaintiff,
       v.
                                                             NOTICE OF FILING OF
                                                             NOTICE OF REMOVAL
WELLS FARGO BANK, N.A.,

                Defendant.


       Please take notice that on August 27, 2020, Defendant Wells Fargo Bank, N.A. filed its

Notice of Removal of the instant case, a copy of which is attached hereto as Exhibit A, in the

Office of the Clerk of the United States District Court for the Eastern District of North Carolina,

Western Division.

       This the 27th day of August, 2020.



                                         WOMBLE BOND DICKINSON (US) LLP


                                         B. Chad Ewing (N.C. State Bar No. 27811)
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                                         Attorneys for Wells Fargo Bank, N.A.
                             CERTIFICATE OF SERVICE

     I hereby certify that on August 27, 2020, I caused a copy of the foregoing NOTICE OF
FILING OF NOTICE OF REMOVAL to be served by First Class United States Mail to:

      William Teoh, Pro Se
      8 Teahouse Court
      Durham, NC 27707



                                         B. Chad Ewing
